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                              United States District Court
                                        for the
                              Southern District of Florida

 Donna Jane Watts, Plaintiff             )
                                         )
 v.                                      )
                                           Civil Action No. 15-21271-Civ-Scola
                                         )
 City of Miami, and others,              )
 Defendants                              )

                                    Judgment
        The Eleventh Circuit has reversed the Court’s denial of the Defendants’
 motion for summary judgment and directed the Court to enter judgment in favor
 of the Defendants. (Order, ECF No. 124.) The Court now enters judgment in favor
 of the Defendants and against the Plaintiff, as required by Federal Rule of Civil
 Procedure 58. The Court directs the Clerk to close this case.
       Done and ordered in chambers, at Miami, Florida, on March 14, 2017.


                                             ________________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge
